
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its May 1, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is denied and the Respondent's request for attorney fees is granted. The Respondent is awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondent should file an affidavit with the Clerk of the Washington State Supreme Court.
For the Court
/s/ Fairhurst, C.J.
CHIEF JUSTICE
